                 IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF ALABAMA
                            NORTHERN DIVISION

In re: Runnin L Farms, LLC                 )        Case No.: 19-82716-CRJ-11
                                           )
      EIN: xx-xxx0864                      )
                                           )
             Debtor.                       )        CHAPTER 11
                                           )




                             DEBTOR’S FOURTH AMENDED
                              PLAN OF REORGANIZATION




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Dated: May 1, 2020




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In re: Runnin L Farms, LLC                          )         Case No.: 19-82716-CRJ-11
                                                    )
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                                                    )
               Debtor.                              )         CHAPTER 11
                                                    )

            DEBTOR’S FOURTH AMENDED PLAN OF REORGANIZATION

       Runnin L Farms, LLC (the "Debtor"), as Debtor and Debtor-in-Possession, proposes this
Fourth Amended Plan of Reorganization (the "Plan") pursuant to Section 1121(a) of Title 11 of
the United States Code for the resolution of the Debtor’s outstanding creditor claims and equity
interests. Reference is made to the Debtor’s Disclosure Statement (the "Disclosure Statement")
for a discussion of the Debtor’s history, business, properties and results of operations, and for a
summary of this Plan and certain related matters.

       All holders of claims and interests are encouraged to read the Plan and the Disclosure
Statement in their entirety before voting to accept or reject this Plan. No materials, other than the
Disclosure Statement and any exhibits and schedules attached thereto or referenced therein, have
been approved by the Debtor for use in soliciting acceptances or rejections of this Plan.

                                          ARTICLE 1
                                         DEFINITIONS
       As used herein, the following terms have the respective meanings specified below, and
such meanings shall be equally applicable to both the singular and plural, and masculine and
feminine, forms of the terms defined. The words "herein," "hereof," "hereto," "hereunder" and
others of similar import, refer to the Plan as a whole and not to any particular section, subsection
or clause contained in the Plan. Captions and headings to articles, sections and exhibits are
inserted for convenience of reference only and are not intended to be part of or to affect the
interpretation of the Plan. The rules of construction set forth in Section 102 of the Bankruptcy
Code shall apply. In computing any period of time prescribed or allowed by the Plan, the
provisions of Bankruptcy Rule 9006(a) shall apply. Any capitalized term used but not defined
herein shall have the meaning ascribed to such term in the Bankruptcy Code. In addition to such




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other terms as are -defined in other sections of the Plan, the following capitalized terms have the
following meanings when used in the Plan.

       1.1     "Administrative Claim" means a Claim for costs and expenses of administration
allowed under Section 503(b) of the Bankruptcy Code and referred to in Section 507(a)(1) of the
Bankruptcy Code.

       1.2     "Allowed Claim" means a Claim that is (a) not a Disputed Claim or (b) a Claim
that has been allowed by a Final Order.

       1.3     "Ballots" means the written Ballots for acceptance or rejection of the Plan.

       1.4     "Bankruptcy Code" or "Code" means Title 11 of the United States Code as now in
effect or hereafter amended.

       1.5     "Bankruptcy Court" means the United States Bankruptcy Court for the Northern
District of Alabama, Northern Division, which presides over this proceeding, or if necessary, the
United States District Court for said District having original jurisdiction over this case.

       1.6     "Bankruptcy Rules" means, collectively (a) the Federal Rules of Bankruptcy
Procedure, and (b) the local rules of the Bankruptcy Court, as applicable from time to time in the
Reorganization Case.

       1.7     "Business Day" means any day, other than a Saturday, Sunday or "legal holiday"
(as defined in Bankruptcy Rule 9006(a)).

       1.8     "Cash" means cash, wire transfer, certified check, cash equivalents and other
readily marketable securities or instruments, including, without limitation, readily marketable
direct obligations of the United States of America, certificates of deposit issued by banks, and
commercial paper of any Person, including interests accrued or earned thereon, or a check from
the Debtor.

       1.9     "Claim" means any right to payment from the Debtor arising before the
Confirmation Date, whether or not such right is reduced to judgment, liquidated, unliquidated,
fixed, contingent, matured, unmatured, contested, uncontested, legal, equitable, secured, or
unsecured; or any right to an equitable remedy for breach of performance if such breach gives
rise to a right of payment from the Debtor prior to the Confirmation Date, whether or not such
right to an equitable remedy is reduced to judgment, fixed, contingent, matured, unmatured,
contested, uncontested, secured or unsecured.


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          1.10   "Class" means one of the classes of Claims or Interests defined in Article III
hereof.

          1.11   "Confirmation" means the entry of a Confirmation Order confirming this Plan at
or after a hearing pursuant to Section 1129 of the Bankruptcy Code.

          1.12   "Confirmation Date" means the date the Confirmation Order is entered on the
docket of the Bankruptcy Court.

          1.13   "Confirmation Order" means the order entered by the Bankruptcy Court
confirming the Plan pursuant to Section 1129 of the Bankruptcy Code.

          1.14   "Debtor" means Runnin L Farms, LLC.

          1.15   "Disclosure Statement" means the Disclosure Statement filed by the Debtor as
approved by the Bankruptcy Court for submission to the Creditors, interest holders, and parties-
in-interest of the Debtor, as it may have been amended or supplemented from time to time.

          1.16   "Disputed Claim" means a Claim as to which a proof of claim has been Filed or
deemed Filed under applicable law, as to which an objection has been or may be timely Filed and
which objection, if timely Filed, has not been withdrawn on or before any date fixed for Filing
such objections by the Plan or Order of the Bankruptcy Court and has not been overruled or
denied by a Final Order. Prior to the time that an objection has been or may be timely Filed, for
the purposes of this Plan, a Claim shall be considered a Disputed Claim to the extent that: (i) the
amount of the Claim specified in the proof of claim exceeds the amount of any corresponding
Claim listed by the Debtor in their respective Schedules to the extent of such excess; (ii) any
corresponding Claim listed by the Debtor in their respective Schedules has been scheduled as
disputed, contingent, or unliquidated, irrespective of the amount scheduled; or (iii) no
corresponding Claim has been listed by the Debtor in the respective Schedules. Disputed Claims
also includes Claims subject to a pending action for equitable subordination of such Claims.

          1.17   “Distributions" means the properties or interests in property to be paid or
distributed hereunder to the holders of Allowed Claims.

          1.18   “Docket" means the docket in the Reorganization Case maintained by the Clerk.

          1.19   "Effective Date" means the twentieth (20th) business day after an Order
confirming this Plan becomes final and no longer open for appeal, stay or reconsideration in



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accordance with the Federal Rules of Bankruptcy Procedure and/or the Federal Rules of
Appellate Procedure.

        1.20   "Estate" means the estate created in this Reorganization Case under Section 541
of the Bankruptcy Code.

        1.21   "Executory Contract" means any unexpired lease and/or executory contract as set
forth in Section 365 of the Code.

        1.22   "File" or "Filed" means filed with the Bankruptcy Court in the Reorganization
Case.

        1.23   "Final Order" means an order or judgment of the Bankruptcy Court, or other court
of competent jurisdiction, as entered on the Docket in the Reorganization Case, which has not
been reversed, stayed, modified or amended.

        1.24   "Impaired" as to a Class means the Plan alters the legal, equitable or contractual
rights of a Claim or Interest holder within the meaning of 11 U.S.C. § 1124.

        1.25   "Order" means an order or judgment of the Bankruptcy Court as entered on the
Docket.

        1.26   "Person" means any individual, corporation, general partnership, limited
partnership, association, joint stock company, joint venture, estate, trust, indenture trustee,
government or any political subdivision, governmental unit (as defined in the Bankruptcy Code).

        1.27   "Petition Date" means September 9, 2019, the date on which Debtor filed the
voluntary Chapter 11 petition.

        1.28   "Plan" means this Plan of Reorganization in its present form, or as it may be
amended, modified, and/or supplemented from time to time in accordance with the Bankruptcy
Code, or by agreement of all affected parties, or by order of the Bankruptcy Court, as the case
may be.

        1.29   "Pre-Petition Tax Claim" means a Tax Claim that arises prior to the Petition Date.

        1.30   "Priority Claim" means all Claims entitled to priority under 11 U.S.C. §§ 507(a)
of the Bankruptcy Code, other than an Administrative Claim or a Tax Claim.




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        1.31    "Pro Rata" means proportionately, based on the percentage of the distribution
made on account of a particular Allowed Claim bears to the distributions made on account of all
Allowed Claims of the Class in which the Allowed Claim is included.

        1.32    "Rejection Claim" means a Claim resulting from the rejection of a lease or
executory contract by the Debtor.

        1.33    "Reorganization Case" means, collectively, the Debtor’s case under Chapter 11 of
the Bankruptcy Code that was commenced on the Petition Date.

        1.34    "Schedules" means the Schedules of Assets and Liabilities, Statement of Financial
Affairs and Statement of Executory Contracts that may be filed by the Debtor with the
Bankruptcy Court, as amended or supplemented on or before the Confirmation Date, listing the
liabilities and assets of the Debtor.

        1.35    "Secured Claim" means any Claim that is secured by a lien on property in which
the Estate has an interest or that is subject to setoff under Section 553 of the Bankruptcy Code, to
the extent of the value of the Claim holder's interest in the Estate’s interest in such property or to
the extent of the amount subject to setoff, as applicable, as determined pursuant to Section 506(a)
of the Bankruptcy Code.

        1.36    "Security Agreement" means the documentation under which a lien against
property is reflected.

        1.37    "Tax Claim" means either (a) an Unsecured Allowed Claim of a governmental
entity as provided by Section 507(a)(8) of the Code, or (b) an Allowed Claim of a governmental
entity secured by a lien on property of the Debtor under applicable state law.

        1.38    "Unsecured Claim" means any Claim that is not an Administrative Claim, Priority
Claim, Pre-Petition Tax Claim or Secured Claim.

                                     ARTICLE 2
                                   TREATMENT OF
                           ADMINISTRATIVE EXPENSE CLAIMS
                              AND PRIORITY TAX CLAIMS.
        2.1    Administrative Expense Claims.

        Except to the extent that a holder of an allowed administrative expense claim has been
paid by a Debtor prior to the Effective Date or agrees to less favorable treatment, as provided for


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by this Plan, each holder of an allowed administrative expense claim shall receive cash from the
Debtor obligated for the payment of such allowed administrative expense claim in an amount
equal to the allowed amount of such administrative expense claim on the later of the Effective
Date and the date such administrative expense claim becomes an allowed administrative expense
claim, or as soon thereafter as is practicable; provided, however, that allowed administrative
expense claims representing liabilities incurred in the ordinary course of business by a Debtor or
other obligations incurred by such Debtor shall be paid in full and performed by such Debtor in
the ordinary course of business in accordance with the terms and subject to the conditions of any
agreements governing, instruments evidencing, or other documents relating to such transactions.

       2.2   Professional Compensation and Reimbursement Claims.

       Any entity seeking an award of the Bankruptcy Court of compensation for services
rendered and/or reimbursement of expenses incurred on behalf of the Debtor and any Creditors’
Committee through and including the Effective Date under Section 105(a), 363(b), 503(b)(2),
503(b)(3), 503(b)(4) or 503(b)(5) of the Bankruptcy Code shall (a) file its final application for
allowance of such compensation and/or reimbursement by no later than the date that is 120 days
after the Effective Date or such other date as may be fixed by the Bankruptcy Court, and (b) be
paid by or on behalf of the Debtor in full and in cash in the amounts allowed upon (i) the date the
order granting such award becomes a final order, or as soon thereafter as practicable, or (ii) such
other terms as may be mutually agreed upon by the claimant and the Debtor obligated for the
payment of such allowed claim. The Debtor is authorized to pay compensation for professional
services rendered and reimburse expenses incurred on behalf of the Debtor and the creditors’
committee after the Effective Date in the ordinary course and without Bankruptcy Court
approval.

       To the extent the Debtor cannot pay the administrative claims in full within 120 days of
the Effective Date, and to the extent that that the claimants consent to such treatment, the Debtor
will begin making monthly payments of $1,000.00, split on a pro-rata basis between all
claimants on their approved claim amounts until the total allowed claims are paid in full.
Payments to administrative claimants will not begin until after the Bankruptcy Court has entered
a final order approving these claimant fees and expenses.




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       2.3     Priority Tax Claims.

       Except to the extent that a holder of an allowed priority tax claim has been paid prior to
the Effective Date or agrees to less favorable treatment, each holder of an allowed priority tax
claim shall receive from the debtor obligated for the payment of such claim, and at the sole
option of such debtor, (i) cash in an amount equal to the allowed amount of such priority tax
claim on the later of the Effective Date and the date such priority tax claim becomes an allowed
priority tax claim, or as soon thereafter as is practicable, or (ii) equal cash payments to be made
initially on the Effective Date or as soon thereafter as practicable and monthly thereafter in an
aggregate amount equal to such allowed priority tax claim, together with interest at a fixed
annual rate, over a period from the Effective Date through the fifth anniversary after the
Effective Date; provided, however, that such election shall be without prejudice to the Debtor’s
right to prepay such allowed priority tax claim in full or in part without penalty.

       Treatment, for Unsecured Priority Tax Claims:



                                                      This creditor will be paid in full is approved
                                                      claim amount over the course of a 60-month
                               Claim # 11
Unsecured Priority                                    term with interest accruing at the rate of
                              ($31,941.42)
  IRS Tax Claim                                       5.00%, with a standard amortization schedule
                         Impaired, Not Entitled
                                                      for the term. New payments will begin on the
                                 to Vote
                                                      Effective Date.




                                         ARTICLE 3
                                      DESIGNATION OF
                                   CLAIMS AND INTERESTS
       3.1     The following is a designation of the classes of claims and interests under this
Plan. In accordance with Section 1123(a)(1) of the Bankruptcy Code, claims that are not
impaired have been noted and will not vote on the Plan. A claim or interest is classified in a
particular class only to the extent that the claim or interest qualifies within the description of that
class, and is classified in another class or classes to the extent that any remainder of the claim or



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interest qualifies within the description of such other class or classes. A claim or interest is
classified in a particular class only to the extent that the claim or interest is an allowed claim or
allowed interest in that class and has not been paid, released or otherwise satisfied before the
Effective Date; a claim or interest which is not an allowed claim or interest is not in any Class.
Notwithstanding anything to the contrary contained in this Plan, no distribution shall be made on
account of any claim or interest that is not an allowed claim.



        Class                 Impairment             Treatment


                                                     The creditor in this class will be paid in full
                                                     its approved claim amount over the course of
                                                     a 96-month term with interest accruing at the
     Class 1 –
                         Claims ## 1, 2, 3 & 4       rate of Prime plus 1.00%, as published in the
   Secured Claim
                             (collectively           Wall Street Journal (4.75% as of December
 Northland Capital
                              $97,082.12)            18, 2019), and a standard amortization
     Financial
                               Impaired              schedule for the term. Except as otherwise
                                                     provided, this creditor will retain all security
                                                     interests in any collateral. New payments will
                                                     begin on the Effective Date.



                                                     The creditor in this class will be paid in full
                                                     its approved claim amount over the course of
     Class 2 –            Claims ## 6, 7 & 9         a 60-month term with interest accruing at the
   Secured Claim             (collectively           rate of 5.75% and a standard amortization
    BMO Harris               $366,161.75)            schedule for the term. Except as otherwise
                               Impaired              provided, this creditor will retain all security
                                                     interests in any collateral. New payments will
                                                     begin on the Effective Date.




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                                                   The creditor in this class will be paid in full
                                                   its approved claim amount over the course of
     Class 3 –         Claims ## 8 & 10            a 96-month term with interest accruing at the
  Secured Claim           (collectively            rate of 5.75% and a standard amortization
   BMO Harris             $55,303.36)              schedule for the term. Except as otherwise
                            Impaired               provided, this creditor will retain all security
                                                   interests in any collateral. New payments will
                                                   begin on the Effective Date.



                                                   The creditor in this class will be paid in full
                                                   its approved claim amount over the course of
                                                   a 96-month term with interest accruing at the
                                                   rate of Prime plus 1.00%, as published in the
     Class 4 –
                           Claim # 18              Wall Street Journal (4.75% as of December
  Secured Claim
                          ($42,544.02)             18, 2019), and a standard amortization
 Stearns National
                            Impaired               schedule for the term. Except as otherwise
 Bank Association
                                                   provided, this creditor will retain all security
                                                   interests in any collateral. New payments will
                                                   begin on the Effective Date.




                                                   The creditor in this class will be paid in full
                                                   its approved claim amount, less a credit for
                                                   the applied proceeds of any collateral
     Class 5 –        Claims ## 13, 14, 15,
                                                   property liquidated before the Effective Date,
  Secured Claim       16 & 17 (collectively
                                                   over the course of a 78-month term with
People’s Trust Bank      $607,325.10)
                                                   interest accruing at the rate of Prime plus
                            Impaired
                                                   1.00%, as published in the Wall Street
                                                   Journal (4.75% as of December 18, 2019),
                                                   and a standard amortization schedule for the



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                                               term. Except as otherwise provided, this
                                               creditor will retain all security interests in
                                               any collateral. New payments will begin on
                                               the Effective Date.



                                               The creditor in this class will be paid in full
                                               its approved claim amount over the course of
                                               a 96-month term with interest accruing at the
                                               rate of Prime plus 1.00%, as published in the
    Class 6 –     Claim # 1 ($27,907.35)       Wall Street Journal (4.75% as of December
 Falcon Leasing         Impaired               18, 2019), and a standard amortization
                                               schedule for the term. Except as otherwise
                                               provided, this creditor will retain all security
                                               interests in any collateral. New payments will
                                               begin on the Effective Date.



                                               The creditor in this class will be paid in full its
                                               approved claim amount over the course of a 96-
                                               month term with interest accruing at the rate of
                                               Prime plus 1.00%, as published in the Wall
    Class 7 –      Claim # 21 ($76,699)        Street Journal (4.75% as of December 18,
    EvaBank             Impaired               2019), and a standard amortization schedule for
                                               the term. Except as otherwise provided, this
                                               creditor will retain all security interests in any
                                               collateral. New payments will begin on the
                                               Effective Date.




    Class 8 –           Claim # 5              The Debtor has determined that the creditor
  Secured Claim       ($121,198.93)            in this class possesses a valid lien on
Engs Commercial         Impaired               collateral property which is not necessary to



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   Finance Co.                             the Debtor’s effective reorganization. This
                                           creditor has received relief from the 11
                                           U.S.C. § 362 Automatic Stay and may
                                           exercise its state-law remedies to liquidate its
                                           collateral.


                                           As of the Effective Date, should any unpaid
                                           deficiency balance exist following this
                                           creditor’s liquidation of its collateral, the
                                           creditor may amend its proof of claim to
                                           reflect its remaining unsecured deficiency
                                           balance. Thereafter, any remaining deficiency
                                           claim will be reclassified as a general
                                           unsecured     debt    and   receive the   same
                                           treatment as the creditors in Class 12, below.


                                           To the extent the Debtor retains any property
                                           upon which Engs possesses a valid lien, the
                                           creditor in this class will be paid in full its
                                           approved secured-for-value claim amount
                                           over the course of a 96-month term with
                                           interest accruing at the rate of Prime plus
                                           1.00%, as published in the Wall Street
                                           Journal (4.75% as of December 18, 2019),
                                           and a standard amortization schedule for the
                                           term. Except as otherwise provided, this
                                           creditor will retain all security interests in
                                           any collateral. New payments will begin on
                                           the Effective Date.


                       Claim # 19
    Class 9–          ($238,039.61)        The creditor in this class will be paid in full
Sumitomo Mitsui         Impaired           its approved claim amount over the course of



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   Finance and                                     a 84-month term with interest accruing at the
 Leasing Co, Ltd.                                  rate of Prime plus 1.00%, as published in the
                                                   Wall Street Journal (4.75% as of December
                                                   18, 2019), and a standard amortization
                                                   schedule for the term. Except as otherwise
                                                   provided, this creditor will retain all security
                                                   interests in any collateral. New payments will
                                                   begin on the Effective Date.



                                                   Beginning on the Effective Date, the Debtor
                                                   will commence equal monthly payments of
                                                   $100.00, split and apportioned to the
                                                   creditors in this Class. The allowed claims
    Class 10 –          Claims ## 11 & 12
                                                   will each receive a pro-rata split of every
General Unsecured     (collectively $6,414.71),
                                                   payment based on their claim’s proportionate
     Claims                  Impaired
                                                   share of the total allowed claims in this Class
                                                   on the date that each individual monthly
                                                   payment’s issuance. Monthly payments will
                                                   continue until payment in full of all allowed
                                                   claims in this Class.



    Class 11 –
Interests of Equity          Impaired;             Equity interest holders will retain their
Interest Holders in    Not Entitled to Vote        membership interests in Debtor.
     Debtor




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                                   BASIS FOR TREATMENT
                                  OF CLAIMS AND INTERESTS
       1.      Secured Creditors (Classes 1-9)

       The creditors in Classes 1-9 will be paid in full, to the extent the Debtor retains the
creditors’ collateral property, because these creditors are secured for value and are entitled to
payment-in-full. 11 U.S.C. § 506(b). To the extent the Debtor does not retain some or all of any
secured creditor’s collateral property, any such deficiency amount arising from those claims may
be treated as a general unsecured claim, pursuant to the terms of the Plan.

       2.      General Unsecured Creditors (Class 10)

       The Plan proposes paying unsecured creditors in full over time in the order of priority
stated in 11 U.S.C. § 507. The Bankruptcy Code requires that the allowed senior-priority claims
are either satisfied in full or that the Plan contemplates payment in full before any distributions
may be made to general unsecured creditors.

       3.      Equity Security Holders (Class 11)

       The equity security holders will retain their shares in the Debtor. The equity interest
holders’ rights to receive any property from the Debtor will be predicated on all higher-priority
claimants before distributions may be made to these interest holders.

                                 ARTICLE 5
                      ACCEPTANCE OR REJECTION OF THE PLAN
       The holders of Claims in all impaired Classes entitled to vote and listed above may vote
to accept or reject the Plan.

                                        ARTICLE 6
                                 MEANS FOR EXECUTION AND
                                IMPLEMENTATION OF THE PLAN
       6.1     Funding of the Distribution. On the Effective Date, the Debtor shall first fund
payments to the holders of Allowed Administrative Claims.

       6.2     Authorization to Take Necessary and Appropriate Actions to Effectuate Plan. On
the Effective Date, the Debtor shall be authorized and directed to take all necessary and




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appropriate actions to effectuate the transactions contemplated by the Plan and Disclosure
Statement.

       6.3       Preservation of Rights of Action. Except as otherwise provided in the Plan, or in
any contract, instrument, release, or other agreement entered into in connection with the Plan in
accordance with Section 1123(b) of the Bankruptcy Code, the Debtor shall retain and may
enforce any claims, rights and causes of action that the Debtor or the Estates may hold against
any entity, including, without limitation, any claims, rights or causes of action arising under
Sections 544 through 551 or other sections of the Bankruptcy Code or any similar provisions of
state law, or any other statute or legal theory. The Debtor or any successor to or designee thereof
may pursue those rights of action, as appropriate, in accordance with what is in the best interests
of the Debtor.

       6.4       Except as otherwise provided for with respect to applications of professionals for
compensation and reimbursement of expenses under Article 3 of the Plan, or as otherwise
ordered by the Bankruptcy Court after notice and a hearing, objections by any party other than
the Debtor to filed Claims shall be Filed and served upon the holder of such Claim or
Administrative Claim not later than the Effective Date, unless this period is extended by the
Court. Such extension may occur ex parte. After the Effective Date, only the Debtor shall have
the exclusive right to object to Claims.

                                   ARTICLE 7
                   FUNDING AND METHODS OF DISTRIBUTION AND
                 PROVISIONS FOR TREATMENT OF DISPUTED CLAIMS
       7.1       The Debtor’s normal cash flow shall be the primary source of funds for the
payments to creditors authorized by the U.S. Bankruptcy Court’s confirmation of this Plan. The
Debtor reserves the right to sell collateral for the purpose of providing some funding for the Plan
as the Debtor deems necessary.

       7.2       Cash Distributions. All Cash distributions made pursuant to the Plan shall be
made by the Debtor from the Chapter 11 estate. Any such payments may be made either by
check or wire transfer, at the option of the payor.

       7.3       Distribution Procedures. Except as otherwise provided in the Plan, all
distributions of Cash and other property shall be made by the Debtor on the later of the Effective
Date or the date on which such Claim is Allowed, or as soon thereafter as practicable.


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Distributions required to be made on a particular date shall be deemed to have been made on
such date if actually made on such date or as soon thereafter as practicable. No payments or other
distributions of property shall be made on account of any Claim or portion thereof unless and
until such Claim or portion thereof is allowed.

       7.4     Distributions    to   Holders   of      Allowed   Administrative   Expense    Claims.
Commencing on the Effective Date, the Debtor shall, in accordance with Article 3 of the Plan,
distribute to each holder of a then unpaid Allowed Administrative Expense Claim in the Allowed
amount of such holder's Claim if and to the extent that the balance, if any, of such Claims is
Allowed by Final Order. The Debtor shall not tender a payment to the holders of Allowed
Administrative Expense Claims until all Disputed Claims that are alleged to be Administrative
Claims have been allowed or disallowed.

       7.5     Disputed Claims. Notwithstanding any other provisions of the Plan, no payments
or distributions shall be made on account of any Disputed Claim until such Claim becomes an
Allowed Claim, and then only to the extent that it becomes an Allowed Claim.

       7.6     Delivery of Distributions and Undeliverable or Unclaimed Distributions.

               (a)     Delivery of Distributions in General.

       Distributions to holders of Allowed Claims shall be distributed by mail as follows: (1) at
the addresses set forth on the respective proofs of claim filed by such holders; (2) at the
addresses set forth in any written notices of address changes delivered to the Debtor after the
date of any related proof of claim; or (3) at the address reflected on the Schedule of Assets and
Liabilities filed by the Debtor if no proof of claim or proof of interest is Filed and the Debtor has
not received a written notice of a change of address.

               (b)     Undeliverable Distributions.

                       (i) Holding and Investment of Undeliverable Property. If the distribution
                       to the holder of any Claim is returned to the Debtor as undeliverable, no
                       further distribution shall be made to such holder unless and until the
                       Debtor is notified in writing of such holder's then current address.
                       Unclaimed Cash shall be held in trust in a segregated bank account in the
                       name of the Debtor, for the benefit of the potential claimants of such
                       funds, and shall be accounted for separately.



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                      (ii) Distribution of Undeliverable Property After it Becomes Deliverable
                      and Failure to Claim Undeliverable Property. Any holder of an Allowed
                      Claim who does not assert a claim for an undeliverable distribution held
                      by the Debtor within two years after the Effective Date shall no longer
                      have any claim to or interest in such undeliverable distribution, and shall
                      be forever barred from receiving any distributions under this Plan. In such
                      cases, any cash or securities held for distribution on account of such
                      Claims shall become property of the Debtor.

       7.7     Failure to Negotiate Checks. Checks issued in respect of distributions to holders
of Allowed Claims under the Plan shall be null and void if not negotiated within sixty (60) days
after the date of issuance. The Debtor shall hold any amounts returned to the Debtor in respect of
such checks. Requests for reissuance of any such check may be made directly to the Debtor by
the holder of the Allowed Claim with respect to which such check originally was issued. Any
claim in respect of such voided check is required to be made within six months of the original
issuance date of the check. Thereafter, all amounts represented by any voided check shall
become unrestricted funds of the Debtor. All Claims in respect of void checks and the underlying
distributions shall be discharged and forever barred from an assertion against the Debtor and its
property.

       7.8     Compliance with Tax Requirements. In connection with the Plan, to the extent
applicable, the Debtor shall comply with all withholding and reporting requirements imposed on
them by any governmental unit, and all distributions pursuant to the Plan shall be subject to such
withholding and reporting requirements.

        7.9    Setoffs. Unless otherwise provided in a Final Order or in this Plan, the Debtor
may, but shall not be required to, set off against any Claim and the payments to be made
pursuant to the Plan in respect of such Claim, any claims of any nature whatsoever the Debtor
may have against the holder thereof or its predecessor, but neither the failure to do so nor the
allowance of any Claim hereunder shall constitute a waiver or release by the Debtor of any such
Claims the Debtor may have against such holder or its predecessor.




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                                   ARTICLE 8
                       TREATMENT OF EXECUTORY CONTRACTS
                             AND UNEXPIRED LEASES
       8.1     Rejection of All Executory Contracts and Leases Not Assumed. The Plan
constitutes and incorporates a motion by the Debtor to reject, as of the Effective Date, all pre-
petition executory contracts and unexpired leases to which the Debtor are parties, except for any
executory contract or unexpired lease that (i) has been assumed or rejected pursuant to a Final
Order, or (ii) is the subject of a pending motion for authority to assume the contract or lease
Filed by the Debtor prior to the Confirmation Date. The Plan establishes a bar date for filing
Rejection Claims not already barred.

       8.2     Bar Date for Filing of Rejection Claims. Any Claim for damages arising from the
rejection under this Plan of an executory contract or unexpired lease that was not subject to an
earlier bar date must be Filed within thirty (30) days after the mailing of notice of Confirmation
or be forever barred and unenforceable against the Debtor, the Estates, any of their affiliates and
their properties and barred from receiving any distribution under this Plan.

                                      ARTICLE 9
                            EFFECTS OF PLAN CONFIRMATION
       9.1     No Liability for Solicitation or Participation. As specified in section 1125(e) of
the Bankruptcy Code, Persons that solicit acceptances or rejections of the Plan and/or that
participate in the offer, issuance, sale, or purchase of securities offered or sold under the Plan, in
good faith and in compliance with the applicable provisions of the Bankruptcy Code, are not
liable, on account of such solicitation or participation, for violation of any applicable law, rule,
or regulation governing the solicitation of acceptances or rejections of the Plan or the offer,
issuance, sale, or purchase of securities.

       9.2     Limitation of Liability. Neither the Debtor and any professional Persons retained
by them; any of their affiliates nor any of their officers, directors, partners, associates,
employees, members or agents (collectively the "Exculpated Persons"), shall have or incur any
liability to any Person for any act taken or omission made in good faith in connection with or
related to the Bankruptcy Case or actions taken therein, including negotiating, formulating,
implementing, confirming or consummating the Plan, the Disclosure Statement, or any contract,
instrument, or other agreement or document created in connection with the Plan. The Exculpated
Persons shall have no liability to any Creditors or Equity Security Holders for actions taken


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under the Plan, in connection therewith or with respect thereto in good faith, including, without
limitation, failure to obtain Confirmation of the Plan or to satisfy any condition or conditions, or
refusal to waive any condition or conditions, precedent to Confirmation or to the occurrence of
the Effective Date. Further, the Exculpated Persons will not have or incur any liability to any
holder of a Claim, holder of an Interest, or party-in-interest herein or any other Person for any act
or omission in connection with or arising out of their administration of the Plan or the property to
be distributed under the Plan, except for gross negligence or willful misconduct as finally
determined by the Bankruptcy Court, and in all respects such persons will be entitled to rely
upon the advice of counsel with respect to their duties and responsibilities under the Plan.

        9.3        Other Documents and Actions. The Debtor as Debtor-In-Possession may execute
such documents and take such other action as is necessary to effectuate the transactions provided
for in the Plan.

        9.4        Unless otherwise provided, all injunctions or stays provided for in the
Reorganization Case pursuant to Sections 105 or 362 of the Bankruptcy Code or otherwise and
in effect on the Confirmation Date shall remain in full force and effect until the Effective Date.

        9.5        So long as the Debtor’s Chapter 11 case is not dismissed, the protections afforded
it by 11 U.S.C. § 362 will remain in full effect to stay all collection actions of any pre-petition
debts, claims, liens, or other related occurrences against the Debtor, the bankruptcy estate, or
property of the bankruptcy estate for the pendency of its Chapter 11 Plan.

        9.6.       Stay on State and Local Governmental Units from Engaging in any Collection
Action Against any Responsible Persons During the Pendency of the Plan. Unless otherwise
provided, all Governmental Units, as defined by the Bankruptcy Code, are stayed from engaging
in any collection action of any nature against any employee, owner, manager, director, or
principal of the Debtor relating to or arising from a tax liability of the Debtor which is
concurrently or jointly assessed against any employee, owner, manager, director, or principal of
the Debtor.

        This provision does not apply to the U.S. Department of the Treasury, Internal Revenue
Service.

        This section applies to any non-debtors deemed a “responsible person” and assessed the
Trust Fund Recovery Penalty from a tax due arising from or due and owed by the Debtor in the
ordinary course of operating its business. All Governmental Units must first look to the Debtor


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for satisfaction of any such tax debts and then may only take collection action against any
responsible person if the Debtor’s Chapter 11 case has been dismissed by the Bankruptcy Court,
the Debtor’s Plan fails to provider for satisfaction of the amounts to which any non-debtor is
jointly responsible, or the Debtor has failed to cure any Plan default to that Governmental Unit,
as described in the Section 9.7.

       9.7     Default and Opportunity to Cure.

       During the pendency of this Plan, should any party-in-interest aver that the Debtor
has materially defaulted to any of its obligations under this Plan, such party must give
written notice of the default to the Debtor and the Debtor’s Counsel listed below. The
Debtor will have 21 days from receipt of the notice to cure any such default. If the Debtor
fails to cure within this 21-day deadline, the party giving notice of the default may proceed
accordingly with any legal rights available under applicable law.

                                 ARTICLE 10
                    CONFIRMABILITY OF PLAN AND CRAMDOWN
       10.1    Confirmability. In order to confirm the Plan, the Bankruptcy Code requires that
the Court make a series of findings concerning the Plan and the Debtor.

               a.      Best Interests Test/Liquidation Analysis.

       Notwithstanding the acceptance of the Plan by each Impaired Class, Section 1129(a)(7)
of the Bankruptcy Code requires that the Bankruptcy Court determine that the Plan is in the best
interests of each holder of a Claim or Interest in an Impaired Class if any holder in that Class has
voted against the Plan. Accordingly, if an Impaired Class under the Plan does not unanimously
accept that Plan, the "best interests" test requires that the Bankruptcy Court find that the Plan
provides to each member of such Impaired Class a recovery on account of the member's Claim
or Interest that has a value, as of the Effective Date, that is not less than the value of the
distribution that each such member would receive or retain if Debtor were liquidated under
Chapter 7 of the Bankruptcy Code commencing on the Effective Date.

       To determine what members of each impaired Class of Claims would receive if the
Debtor’s estate was liquidated under Chapter 7, the Court must consider the values that would be
generated from a liquidation of the Debtor’s assets and properties in the context of a hypothetical
liquidation under Chapter 7. From a review of the Debtor’s assets and liabilities, it is apparent



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that liquidation would not be a feasible solution to the repayment of these Debtor’s debts.

       There are no long-term accounts receivables or residuary contact rights. Accordingly, a
Chapter 7 Trustee would need to liquidate the Debtor’s assets. It is highly likely that unsecured
creditors would receive no distribution in a Chapter 7 liquidation of the Debtor’s estate.

       Thus, this Plan, which provides for the payment of secured and unsecured creditors is a
superior option to a Chapter 7 liquidation.

               b.      Feasibility.

       Section 1129(a)(11) of the Bankruptcy Code requires a finding that Confirmation of the
Plan is not likely to be followed by liquidation, or the need for further financial reorganization,
of the Debtor unless liquidation is expressly contemplated by the Plan. A review of the Debtor’s
proposed Plan payments and disposable income establish that the Plan is feasible within the
meaning of Section 1129(a)(11) of the Bankruptcy Code.

       The Debtor expects its business to become both profitable and its revenues predictable
following confirmation of its Plan. For the foreseeable period to come following confirmation of
its Plan, the Debtor projects steady revenue and expenses. The details of this case strongly
support the feasibility of the proposed Plan.

               c.      Classification.

       Section 1122 of the Bankruptcy Code sets forth the requirements relating to classification
of claims. Section 1122(a) provides that claims or interest may be placed in a particular class
only if they are substantially similar to the other claims or interest in that class. The Debtor
believes that all Classes under the Plan satisfy the requirements of Section 1122(a). The Debtor
believes that the classification of Claims set forth in the Plan is appropriate in classifying
substantially similar Claims together, and does not discriminate unfairly in the treatment of those
Classes. The Debtor believes that the Plan adheres to the absolute priority rule and treats holders
of Claims and Interests in accordance with their contractual entitlement and applicable law.

       10.2    Non-Consensual Confirmation.

       The Bankruptcy Code provides for confirmation of the Plan even if it is not accepted by
all impaired Classes, as long as at least one impaired Class of Claims has accepted it (without
counting the acceptances of insiders). These so-called "cramdown" provisions are set forth in
Section 1129(b) of the Bankruptcy Code. The Plan may be confirmed under the cramdown


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provisions if, in addition to satisfying the other requirements of Section 1129 of the Bankruptcy
Code, it (i) is "fair and equitable" and (ii) "does not discriminate unfairly" with respect to each
Class of Claims or Interests that is impaired under, and has not accepted, such Plan.

               a.      Fair and Equitable Standard.

       With respect to a dissenting Class of unsecured creditors, the "fair and equitable"
standard requires, among other things, that the Plan contain one of two elements. It must provide
either that each unsecured creditor in the Class receive or retain property having a value, as of
the Effective Date, equal to the Allowed amount of its Claim, or that no holder of Allowed
Claims or Interests in any junior Class may receive or retain any property on account of such
Claims or Interest. The strict requirements as to the allocation of full value to dissenting Classes
before junior Classes can receive a distribution are known as the "absolute priority rule." In
addition, the "fair and equitable" standard has also been interpreted to prohibit any class senior to
a dissenting class from receiving under a plan more than one hundred percent (100%) of its
Allowed Claims.

               b.      The Plan Must Not Discriminate Unfairly.

       As a further condition to approving a cramdown, the Bankruptcy Court must find that the
Plan does not "discriminate unfairly" in its treatment of dissenting Classes. A Plan of
Reorganization does not "discriminate unfairly" if (a) the Plan does not treat any dissenting
impaired Class of Claims or Interests in a manner that is materially less favorable than the
treatment afforded to another Class with similar legal Claims against or Interests in the Debtor
and (b) no Class receives payments in excess of that which it is legally entitled to receive for its
Claims or Interests. The Debtor believes that the Plan does not discriminate unfairly as to any
impaired Class of Claims or Interests.

       If any impaired Class of Claims entitled to vote on the Plan does not accept the Plan by
the requisite majority provided in Section 1126(c) of the Bankruptcy Code, the Debtor reserves
the right to amend the Plan or undertake to have the Bankruptcy Court confirm the Plan under
Section 1129(b) of the Bankruptcy Code or both. With respect to impaired Classes of Claims or
Equity Interests that are deemed to reject the Plan, the Debtor will request that the Bankruptcy
Court confirm the Plan pursuant to Section 1129(b) of the Bankruptcy Code.




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                                      ARTICLE 11
                               RETENTION OF JURISDICTION
        Notwithstanding the entry of the Confirmation Order or the occurrence of the Effective
Date, the Bankruptcy Court shall retain such jurisdiction over the Reorganization Case after the
Effective Date as is legally permissible, including, without limitation, jurisdiction to:

        11.1   Allow, disallow, determine, liquidate, classify or establish the priority or secured
or unsecured status of or estimate any Claim or Interest, including, without limitation, the
resolution of any request for payment of any Administrative Claim or Indenture Trustee
expenses and the resolution of any and all objections to the allowance or priority of Claims or
Interests;

        11.2   Grant or deny any and all applications for allowance of compensation or
reimbursement of expenses authorized pursuant to the Bankruptcy Code or the Plan, for periods
ending on or before the Effective Date;

        11.3   Resolve any motions pending on the Effective Date to assume, assign or reject
any executory contract or unexpired lease to which the Debtor is a party or with respect to which
the Debtor may be liable and to hear, determine and, if necessary, liquidate, any and all Claims
arising there from;

        11.4   Ensure that distributions to holders of Allowed Claims and Allowed Interests are
accomplished pursuant to the provisions of the Plan;

        11.5   Decide or resolve any and all applications, motions, adversary proceedings,
contested or litigated matters and any other matters or grant or deny any applications involving
the Debtor that may be pending on the Effective Date;

        11.6   Enter such Orders as may be necessary or appropriate to implement or
consummate the provisions of the Plan and all contracts, instruments, releases, and other
agreements or documents created in connection with the Plan or the Disclosure Statement;

        11.7   Resolve any and all controversies, suits or issues that may arise in connection
with the consummation, interpretation or enforcement of the Plan or any entity's obligations
incurred in connection with the Plan, including the provisions of Article 9 hereof;

        11.8   Modify the Plan before or after the Effective Date pursuant to Section 1127 of the
Bankruptcy Code, or to modify the Disclosure Statement or any contract, instrument, release, or


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other agreement or document created in connection with the Plan or the Disclosure Statement; or
remedy any defect or omission or reconcile any inconsistency in any Bankruptcy Court Order,
the Plan, the Disclosure Statement or any contract, instrument, release, or other agreement or
document created in connection with the Plan or the Disclosure Statement, in such manner as
may be necessary or appropriate to consummate the Plan, to the extent authorized by the
Bankruptcy Code;

         11.9   Issue injunctions, enter and implement other orders or take such other actions as
may be necessary or appropriate to restrain interference by any entity with consummation or
enforcement of the Plan;

         11.10 Enter and implement such orders as are necessary or appropriate if the
Confirmation Order is for any reason modified, stayed, reversed, revoked or vacated;

         11.11 Determine any other matters that may arise in connection with or relate to the
Plan, the Disclosure Statement, the Confirmation Order or any contract, instrument, release, or
other agreement or document created in connection with the Plan or the Disclosure Statement;
and

         11.12 Enter an order concluding the Reorganization Case.

         If the Bankruptcy Court abstains from exercising jurisdiction or is otherwise without
jurisdiction over any matter arising out of the Reorganization Case, including, without limitation,
the matters set forth in this Article, this Article shall have no effect upon and shall not control,
prohibit, or limit the exercise of jurisdiction by any other court having competent jurisdiction
with respect to such matter.

                                      ARTICLE 12
                               MISCELLANEOUS PROVISIONS
         12.1   Fractional Dollars. Any other provision of the Plan notwithstanding, no payments
of fractions of dollars will be made to any holder of an Allowed Claim. Whenever any payment
of a fraction of a dollar to any holder of an Allowed Claim would otherwise be called for, the
actual payment made will reflect a rounding of such fraction to the nearest whole dollar (up or
down).

         12.2   Modification of Plan. The Debtor reserves the right, in accordance with the
Bankruptcy Code, to amend or modify the Plan prior to the entry of the Confirmation Order.


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After the entry of the Confirmation Order, the Debtor may, upon order of the Bankruptcy Court,
amend or modify the Plan in accordance with Section 1127(b) of the Bankruptcy Code, or
remedy any defect or omission or reconcile any inconsistency in the Plan in such manner as may
be necessary to carry out the purpose and intent of the Plan.

        12.3    Withdrawal of Plan. The Debtor reserves the right, at any time prior to entry of
the Confirmation Order, to revoke or withdraw the Plan. If the Debtor revokes or withdraws the
Plan under this Section 12.3 or if the Effective Date does not occur, then the Plan shall be
deemed null and void. In that event, nothing contained in the Plan shall be deemed to constitute
a waiver or release of any Claims by or against the Debtor or any other person, or to prejudice in
any manner the rights of the Debtor or any other person in any further proceedings involving the
Debtor.

        12.4    Governing Law. Except to the extent the Bankruptcy Code or the Bankruptcy
Rules are applicable, the rights and obligations arising under the Plan shall be governed by, and
construed and enforced in accordance with the laws of the State of Alabama, without giving
effect to the principles of conflicts of law thereof.

        12.5    Time. In computing any period of time prescribed or allowed by this Plan, the day
of the act, event, or default from which the designated period of time begins to run shall not be
included. The last day of the period so computed shall be included, unless it is not a Business
Day or, when the act to be done is the filing of a paper in court, a day on which weather or other
conditions have made the clerk's office inaccessible, in which event the period runs until the end
of the next day which is not one of the aforementioned days. When the period of time prescribed
or allowed is less than eight days, intermediate days that are not Business Days shall be excluded
in the computation.

        12.6    Payment Dates. Whenever any payment to be made under the Plan is due on a day
other than a Business Day, such payment will instead be made, without interest, on the next
Business Day.

        12.7    Headings. The headings used in this Plan are inserted for convenience only and do
not constitute a portion of the Plan or in any manner affect the provisions of the Plan.

        12.8    Successors and Assigns. The rights, benefits and obligations of any entity named
or referred to in the Plan shall be binding on, and shall inure to the benefit of, any heir, executor,
administrator, successor or assign of such entity.


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       12.9    Severability of Plan Provisions. If prior to Confirmation any term or provision of
the Plan, which does not govern the treatment of Claims or Interests or the conditions of the
Effective Date, is held by the Bankruptcy Court to be invalid, void, or unenforceable, the
Bankruptcy Court shall have the power to alter and interpret such term or provision to make it
valid or enforceable to the maximum extent practicable, consistent with the original purpose of
the term or provision held to be invalid, void, or unenforceable, and such term or provision shall
then be applicable as altered or interpreted. Notwithstanding any such holding, alteration or
interpretation, the remainder of the terms and provisions of the Plan will remain in full force and
effect and will in no way be affected, impaired, or invalidated by such holding, alteration, or
interpretation. The Confirmation Order shall constitute a judicial determination and shall provide
that each term and provision of the Plan, as it may have been altered or interpreted in accordance
with the foregoing, is valid and enforceable pursuant to its terms.

       12.10 No Admissions. Notwithstanding anything herein to the contrary, nothing
contained in the Plan shall be deemed as an admission by the Debtor with respect to any matter
set forth herein, including, without limitation, liability on any Claim or the propriety of any
Claims classification.

       12.11 Notices. Notices to be provided under this Plan must be transmitted in writing to
the Debtor at both addresses that follow:

       Runnin L Farms, LLC
       c/o Their Attorneys
       SPARKMAN, SHEPARD & MORRIS, P.C.
       P.O. Box 19045
       Huntsville, AL 35804

              and
       Runnin L Farms, LLC
       231 Mardis Point Road
       Joppa, AL 35087




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       Respectfully submitted this the 1st day of May, 2020.

                                            RUNNIN L FARMS, LLC


                                            /s/ Donald Barry Lindsey
                                            Donald Barry Lindsey, President


                                            /s/ Tazewell T. Shepard III
                                            Tazewell T. Shepard III
                                            Tazewell T. Shepard IV
                                            Attorneys for the Debtor
                                            SPARKMAN, SHEPARD & MORRIS, P.C.
                                            P. O. Box 19045
                                            Huntsville, AL 35804
                                            Tel: (256) 512-9924
                                            Fax: (256) 512-9837




                               CERTIFICATE OF SERVICE

       This is to certify that this the 1st day of May, 2020, I have this day served the foregoing
motion on all parties requesting notice, all parties listed on the Clerk’s Certified Matrix and
Richard Blythe, Office of the Bankruptcy Administrator, by electronic service through the
Court’s CM/ECF system and/or by placing a copy of same in the United States Mail, postage
pre-paid.


                                            /s/ Tazewell T. Shepard IV
                                            OF COUNSEL




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